 Case 1:19-md-02875-RMB-SAK                             Document 2281-1              Filed 03/08/23              Page 1 of 2 PageID:
                                                              77964
                                   Kansas Department of Health and Environment
                                                          Office of Vital Statistics
                                                     CERTIFICATE OF DEATH
                                                                                                            State File Numbers 115-2022-17633


Decedenfs Legal Name (First, M1ddle,Last)z                                  Last Name Prior to First Marriages
                                                                                                                                                                             I



                                                                                                                                                                     ,




MICHAEL JEFFREY SI-IEMES
Date of Deaths             Ages                                Date of Births          Sexs                          Social Security Numbers                                                  Y




07/30/2022                 71 YEAR(S)                          06/18/1951              MALE
Residence_Street Addresss               City or Towns                       State or Foreign Countrys                Zip Codes
                                                                                                                                                     I




15201 PERRY STREET                      OVERLAND PARK                       KANSAS                                       66221
Place of Births                         Armed Forcess          Marital Statuss         Surviving Spouse (Name prior to rim Mnrriage)s
FLINT, MICHIGAN                         NO                     MARRIED                 DOLORES ANNE REASONER
Father/Parent Name Prior to First Marriages                                 Mother/Parent Name Prior to First Marriages
NORMAN SI-IEMES
                                                                                                                                                         .




                                                                            GLADYS LASHER
                                                                                                                 I




Place of Deaths                                    Facility Names
DECEDENT RESIDENCE                                 15201 PERRY STREET

City or Town ofDeaths                              County of Deaths                                 Zip Codes
OVERLAND PARK                                      JOHNSON
                                                                                                                                             _




                                                                                                    66221
Method of Dispositions                             Place of Dispositions                            Location of Dispositions
CREMATION                                          D. W. NEWCOMERS AND SONS                         KANSAS CITY, MISSOURI
                                                                                                                                                             A




Decedentls Occupations                                                      Decedentis Industrys
SEMICONDUCTOR MANAGER
                                                                                                                     ,




                                                                            HIGH TECHNOLOGY
                                                                                                                                                 _




Decedentis Educations                              Decedentls Races                                                  Decedentls Ancestrys
MASTER/S DEGREE                                    WHITE
                                                                                                                             A




Informantls Names                                  Relationship to Decedents           Informantis Mailing Addresss
DOLORES SI-IEMES                                   WIFE                                15201 PERRY STREET
                                                                                       OVERLAND PARK, KANSAS 66221
Name and Address of Firms
NEPTUNE SOCIETY 8438 WARD PARKWAY KANSAS CITY, MISSOURI 64114                                                                            V




Cause of Deaths                                                                                    Approximate Intervals Onset to Death
PENDING MEDICAL RECORD REVIEW



Other Significant Conditionss


Autopsyz                                Tobacco Contribute to Death7                  If Females
NO                                      UNKNOWN                                                                                                                  _




Date of Injurys                         Time of Injurys                     Injury at Works                          Mann_er__o_f Deaths                                 _   _.   _       _




                                                                                                                     PENDING INVESTIGATION
Place of Injurys                                                            Location of Injurys                                      I
                                                                                                                                                                                      T




How Injury Occurreds                                                                               Actual or Presumed Time ofDeaths
                                                                                                   UNKNOWN
Medical Certiliers                                Date Certitieds                                  Date Filed By State Registrars
CHRISTINE R JAMES    -I
                          D0                      as/01/2022                                       os/02/2,022                   _




                                          O8/03/2022 FO14767139901 SI-IEMES 202204017633 5 REG     M DR
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                                     Case 1:19-md-02875-RMB-SAK                                                                                                          Document 2281-1                                               Filed 03/08/23                                             Page 2 of 2 PageID:
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